
In re: Freddie W. Case, Jr., Michael Wayne David &amp; William J. Kimball applying for writs of certiorari, prohibition, mandamus and stay order. Parish of Concordia.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Richard P. Boyd, Judge of the 7th Judicial District, Court for the Parish of Concordia, to transmit to the Supreme Court of Louisiana, on or before the 12th day of May, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this court, why the relief prayed for in the petition of the relator should not be granted.
